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                   BEFORE THE UNITED STATES JUDICAL PANEL
                        ON MULTIDISTRICT LITIGATION



   In re: Oral Phenylephrine Marketing and
           Sales Practices Litigation                               MDL-3089




                                       Schedule of Actions



Case Caption             Court                   Civil Action No.       Judge
Natalie Juneau v. The
Procter & Gamble and       Eastern District of
                                                    No. 2:23‐cv‐05273   Hon. Ivan L.R. Lamelle
GSK Consumer                   Louisiana
Healthcare, Inc.
Robert Fichera v. The
Procter & Gamble,
                           Eastern District of                             Hon. Jane Triche
Associated Wholesale                                No. 2:23‐cv‐05274
                               Louisiana                                       Milazzo
Grocers, Inc. and Valu
Merchandisers Co.
Mari Jones v. Reckitt
Benckiser
                          Northern District of
Pharmaceuticals, Inc.                               No. 3:23‐cv‐04807      Hon. Sallie Kim
                              California
and Reckitt Benckiser
LLC
